                                                                             Case 2:24-cv-06311-SPG-JC      Document 19-3    Filed 10/04/24   Page 1 of 3 Page ID
                                                                                                                   #:165


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                                                                               7
                                                                               8                         UNITED STATES DISTRICT COURT
                                                                               9                        CENTRAL DISTRICT OF CALIFORNIA
                                                                              10
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                                                                              11   SECURITIES AND EXCHANGE                      Case No. 2:24-cv-06311-SPG-JC
                                1990 South Bundy Drive, Suite 705




                                                                                   COMMISSION,
                                                                              12
                                     Los Angeles, CA 90025




                                                                                                   Plaintiff,
                                                                              13
                                                                                                                                DECLARATION OF JAMES W.
                                                                              14         v.                                     SPERTUS IN SUPPORT OF
                                                                                                                                DEFENDANTS’ REQUEST FOR
                                                                              15
                                                                                                                                JUDICIAL NOTICE
                                                                              16   ANDREW LEFT, AND
                                                                                   CITRON CAPITAL, LLC,
                                                                              17
                                                                                                   Defendants.
                                                                              18
                                                                              19
                                                                              20   I, JAMES W. SPERTUS, pursuant to 28 U.S.C. § 1746, declare as follows:
                                                                              21         1.    I am over 18 years of age, of sound mind, and otherwise competent to
                                                                              22   make this Declaration. The evidence set out in this Declaration is based on my
                                                                              23   personal knowledge.
                                                                              24         2.    I am the founder and managing partner of Spertus, Landes & Josephs,
                                                                              25   LLP, and counsel to Defendants Andrew Left and Citron Capital, LLC, in this
                                                                              26   matter. I submit this Declaration in support of Defendants’ Request for Judicial
                                                                              27   Notice related to Defendants’ Motion to Dismiss.
                                                                              28         3.    Attached as Exhibit A is a true and correct copy of the Legal

                                                                                                                DECL. OF JAMES W. SPERTUS
                                                                             Case 2:24-cv-06311-SPG-JC     Document 19-3    Filed 10/04/24    Page 2 of 3 Page ID
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                                                                               1   Disclaimer page (https://citronresearch.com/legal-disclaimer/) of Citron Research’s
                                                                               2   website referred to in Paragraphs 24, 29, 39, and 40 of the Complaint, as captured
                                                                               3   by the Wayback Machine on November 3, 2017.
                                                                               4         4.    Attached as Exhibit B is a true and correct copy of the July 31, 2019,
                                                                               5   Citron Research report referred to on pages 4, 18, 32, 37, and 50 of the Complaint.
                                                                               6         5.    Attached as Exhibit C is a true and correct copy of the October 24,
                                                                               7   2022, Cease and Desist Order from In the Matter of Cronos Group, Inc., SEC
                                                                               8   Release No. 4357, 2022 WL 14796615 (Oct. 24, 2022), available on WestLaw and
                                                                               9   on the SEC’s website at: https://www.sec.gov/files/litigation/admin/2022/33-
                                                                              10   11123.pdf
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                                                                              11         6.    Attached as Exhibit D is a true and correct copy of the historic stock
                                1990 South Bundy Drive, Suite 705




                                                                              12   price data for Cronos Group, Inc., traded under the stock ticker “CRON,” retrieved
                                     Los Angeles, CA 90025




                                                                              13   on September 13, 2024, from the NASDAQ’s publicly available website at:
                                                                              14   https://www.nasdaq.com/market-activity/quotes/historical
                                                                              15         7.    Attached as Exhibit E is a true and correct copy of the May 17, 2019,
                                                                              16   CNBC article Short seller says Beyond Meat hype is ‘beyond stupid,’ places bet
                                                                              17   against the shares by Thomas Franck, as captured by the Wayback Machine on
                                                                              18   May 18, 2019, and available on CNBC’s publicly available website at:
                                                                              19   https://www.cnbc.com/2019/05/17/citrons-andrew-left-beyond-meat-hype-is-
                                                                              20   beyond-stupid.html
                                                                              21         8.    Attached as Exhibit F is a true and correct copy of the historic stock
                                                                              22   price data for Beyond Meat, Inc., traded under the stock ticker “BYND,” retrieved
                                                                              23   on September 11, 2024, from the NASDAQ’s publicly available website at:
                                                                              24   https://www.nasdaq.com/market-activity/quotes/historical
                                                                              25         9.    Attached as Exhibit G is a true and correct copy of the September 28,
                                                                              26   2023, Cease and Desist Order from In the Matter of Spruce Power Holding Corp.,
                                                                              27   SEC Release No. 11247, 2023 WL 6388537 (Sept. 28, 2023), available on
                                                                              28   WestLaw and on the SEC’s website at:
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                                                                                                            DECL. OF JAMES W. SPERTUS
                                                                             Case 2:24-cv-06311-SPG-JC     Document 19-3     Filed 10/04/24   Page 3 of 3 Page ID
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                                                                               1   https://www.sec.gov/files/litigation/admin/2023/33-11247.pdf
                                                                               2         10.    Attached as Exhibit H is a true and correct copy of the historic stock
                                                                               3   price data for American Airlines Group, Inc., traded under the stock ticker “AAL,”
                                                                               4   retrieved on August 22, 2024, from the NASDAQ’s publicly available website at:
                                                                               5   https://www.nasdaq.com/market-activity/quotes/historical
                                                                               6         11.    Attached as Exhibit I is a true and correct copy of the historic stock
                                                                               7   price data for India Globalization Capital, Inc., traded under the stock ticker “IGC,”
                                                                               8   retrieved on August 22, 2024, from the NASDAQ’s publicly available website at:
                                                                               9   https://www.nasdaq.com/market-activity/quotes/historical
                                                                              10         12.    Attached as Exhibit J is a true and correct copy of the February 12,
                        Telephone (310) 826-4700; Facsimile (310) 826-4711
Spertus, Landes & Josephs, LLP




                                                                              11   2020, rulemaking petition to the SEC by Professors John C. Coffee, Jr., and Joshua
                                1990 South Bundy Drive, Suite 705




                                                                              12   Mitts from the SEC’s publicly available website:
                                     Los Angeles, CA 90025




                                                                              13   https://www.sec.gov/rules/petitions/2020/petn4-758.pdf
                                                                              14         I declare under penalty of perjury that the foregoing is true and correct.
                                                                              15
                                                                                   Executed on: October 4, 2024
                                                                              16
                                                                              17                                           By:
                                                                              18                                                 JAMES W. SPERTUS

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                                                                                                             DECL. OF JAMES W. SPERTUS
